       Case 1:23-cv-00707-DAE Document 49 Filed 10/13/23 Page 1 of 16



                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION


NATIONAL INFUSION CENTER
ASSOCIATION et al.,

                  Plaintiffs,

         v.                                       Case No. 1:23-cv-00707-DAE

XAVIER BECERRA, in his official capacity
as Secretary of the Department of Health and
Human Services, et al.,

                  Defendants.




          DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS


                                               BRIAN M. BOYNTON
                                               Principal Deputy Assistant Attorney General

                                               JAIME ESPARZA
                                               United States Attorney

                                               MICHELLE R. BENNETT
                                               Assistant Branch Director

                                               STEPHEN M. PEZZI
                                                Senior Trial Counsel
                                               CHRISTINE L. COOGLE
                                               ALEXANDER V. SVERDLOV
                                                Trial Attorneys
                                               United States Department of Justice
                                               Civil Division, Federal Programs Branch
                                               1100 L Street NW
                                               Washington, D.C. 20005
                                               (202) 305-8576
                                               stephen.pezzi@usdoj.gov

                                               Counsel for Defendants
              Case 1:23-cv-00707-DAE Document 49 Filed 10/13/23 Page 2 of 16



                                                         TABLE OF CONTENTS

INTRODUCTION ........................................................................................................................................... 1

ARGUMENT..................................................................................................................................................... 1

I.          Plaintiff NICA should be dismissed for lack of subject-matter jurisdiction ............................... 1

            A.          NICA has not satisfied the jurisdictional prerequisites of the Medicare Act ................ 1

            B.          NICA has not identified any member with Article III standing ..................................... 5

II.         Upon NICA’s dismissal, this case should be dismissed for lack of venue ................................10

CONCLUSION ...............................................................................................................................................10




                                                                               i
              Case 1:23-cv-00707-DAE Document 49 Filed 10/13/23 Page 3 of 16



                                                      TABLE OF AUTHORITIES

CASES

Affiliated Prof’l Home Health Care Agency v. Shalala,
  164 F.3d 282 (5th Cir. 1999) ........................................................................................................................ 4

Am. C.R. Union v. Martinez-Rivera,
 166 F. Supp. 3d 779 (W.D. Tex. 2015)....................................................................................................... 6

Am. Med. Hospice Care, LLC v. Azar,
 No. 5:20-cv-757-DAE, 2020 WL 9814144 (W.D. Tex. Dec. 9, 2020) ............................................. 2, 4

Association of Community Cancer Centers v. Azar,
  509 F. Supp. 3d 482 (D. Md. 2020) ............................................................................................................ 4

Attala Cnty., Miss. Branch of NAACP v. Evans,
  37 F.4th 1038 (5th Cir. 2022).................................................................................................................. 7, 9

Axon Enterprises, Inc. v. FTC,
 598 U.S. 175 (2023) .....................................................................................................................................10

Clapper v. Amnesty Int’l USA,
  568 U.S. 398 (2013) .............................................................................................................................. 7, 8, 9

Community Oncology Alliance, Inc. v. OMB,
  987 F.3d 1137 (D.C. Cir. 2021) ................................................................................................................... 4

D&G Holdings, LLC v. Becerra,
 22 F.4th 470 (5th Cir. 2022)......................................................................................................................... 3

Dayton Area Chamber of Com. v. Becerra,
  No. 3:23-cv-156, — F. Supp. 3d. —, 2023 WL 6378423 (S.D. Ohio Sept. 29, 2023) ........................ 1

Dep’t of Com. v. New York,
  139 S. Ct. 2551 (2019) .................................................................................................................................10

Dep’t of Educ. v. Brown,
  600 U.S. 551 (2023) ....................................................................................................................................... 9

Fam. Rehab., Inc. v. Azar,
  886 F.3d 496 (5th Cir. 2018) ........................................................................................................................ 2

Funeral Consumers All., Inc. v. Serv. Corp. Int’l,
  695 F.3d 330 (5th Cir. 2012) ................................................................................................................... 5, 6

Hancock Cnty. Bd. of Sup’rs v. Ruhr,
  487 F. App’x 189 (5th Cir. 2012) ................................................................................................................ 6




                                                                              ii
              Case 1:23-cv-00707-DAE Document 49 Filed 10/13/23 Page 4 of 16



Heckler v. Ringer,
  466 U.S. 602 (1984) ....................................................................................................................................... 2

Jaraba v. Blinken,
   568 F. Supp. 3d 720 (W.D. Tex. 2021)....................................................................................................... 6

Johnson v. HHS,
   142 F. App’x 803 (5th Cir. 2005) ................................................................................................................ 5

June Med. Servs. LLC v. Russo,
   140 S. Ct. 2103 (2020) .................................................................................................................................10

Olim v. Wakinekona,
  461 U.S. 238 (1983) ....................................................................................................................................... 9

Paterson v. Weinberger,
  644 F.2d 521 (5th Cir. 1981) ........................................................................................................................ 6

Physician Hosps. of Am. v. Sebelius,
  691 F.3d 649 (5th Cir. 2012) ........................................................................................................................ 2

Shalala v. Ill. Council on Long Term Care, Inc.,
  529 U.S. 1 (2000) ................................................................................................................................... passim

Summers v. Earth Island Inst.,
  555 U.S. 488 (2009). ................................................................................................................................. 6, 9

Sw. Pharmacy Sols., Inc. v. CMS,
  718 F.3d 436 (5th Cir. 2013) ........................................................................................................................ 3

Texas v. United States,
  809 F.3d 134 (5th Cir. 2015) ........................................................................................................................ 8

Town of Castle Rock v. Gonzales,
  545 U.S. 748 (2005) ....................................................................................................................................... 9

TransUnion LLC v. Ramirez,
  141 S. Ct. 2190 (2021) .................................................................................................................................10

True Health Diagnostics, LLC v. Azar,
  392 F. Supp. 3d 656 (E.D. Tex. 2019)........................................................................................................ 5

Weinberger v. Salfi,
 422 U.S. 749 (1975) .................................................................................................................................. 2, 4




                                                                              iii
               Case 1:23-cv-00707-DAE Document 49 Filed 10/13/23 Page 5 of 16



STATUTES

2 U.S.C. §§ 901, et seq. ........................................................................................................................................ 4

28 U.S.C. § 1406 ...............................................................................................................................................10

42 U.S.C. § 405 ................................................................................................................................................... 3

42 U.S.C. § 1320f-1 ................................................................................................................................... 6, 7, 8

42 U.S.C. § 1320f-2 ....................................................................................................................................... 7, 8

42 U.S.C. § 1320f-7 ............................................................................................................................................ 5

42 U.S.C. § 1395ff ......................................................................................................................................... 2, 3

42 U.S.C. § 1395ii ............................................................................................................................................... 2

42 U.S.C. § 1395w-3 .......................................................................................................................................... 7

42 U.S.C. § 1395w-102 ................................................................................................................................. 3, 4

42 U.S.C. § 1395w-104 ...................................................................................................................................... 3

42 U.S.C § 1395w-3a ................................................................................................................................ 3, 4, 6

REGULATIONS

42 C.F.R. § 405.990............................................................................................................................................ 5

OTHER AUTHORITIES

Adam Zamecnik, J&J signs Stelara biosimilar settlement deal, Pharm. Tech. (Aug. 8, 2023),
  https://perma.cc/L64H-9U77 .................................................................................................................... 8




                                                                                 iv
          Case 1:23-cv-00707-DAE Document 49 Filed 10/13/23 Page 6 of 16



                                           INTRODUCTION
        Plaintiffs do not dispute that this case should be dismissed for lack of venue unless this Court

has subject-matter jurisdiction over the claims of the National Infusion Center Association (NICA)—

the only Plaintiff with any relevant connection to the Western District of Texas. But NICA has failed

to carry its burden to show subject-matter jurisdiction, for two independent reasons.

        First, as for jurisdiction under the Medicare Act, binding precedent “demands the ‘channeling’

of virtually all legal attacks through the agency” first. Shalala v. Ill. Council on Long Term Care, Inc., 529

U.S. 1, 13 (2000). NICA’s claims are no exception. Although this subject is addressed only in cursory

fashion at the end of Plaintiffs’ opposition brief, it is independently sufficient to dispose of this case—

without the need to even consider standing (much less the merits).

        Second, as for Article III standing, NICA scrambles to assert new theories and new facts that

do not appear in the complaint. Even if that were procedurally proper, the same basic problem

persists: extensive reliance on unsupported speculation about harms NICA’s members might suffer

“no later than 2028.” Pls.’ Opp’n, ECF No. 47. That is not enough to show Article III injury.

        Plaintiffs’ claims would ultimately fail on the merits, in whatever forum they may eventually

be considered. See Dayton Area Chamber of Com. v. Becerra, No. 3:23-cv-156, — F. Supp. 3d. —, 2023

WL 6378423 (S.D. Ohio Sept. 29, 2023) (denying preliminary-injunction motion in similar case). But

there is no occasion to reach the merits here—instead, NICA should be dismissed for lack of subject-

matter jurisdiction, and this entire case should then be dismissed for lack of venue.

                                              ARGUMENT

I.      Plaintiff NICA should be dismissed for lack of subject-matter jurisdiction.

        A.      NICA has not satisfied the jurisdictional prerequisites of the Medicare Act.

        As Defendants explained in their motion, NICA’s claims are barred by the jurisdictional

channeling requirements of the Medicare Act. Plaintiffs’ opposition brief (at 17–19) barely responds

to that argument, and what it does say all but confirms that the Court lacks jurisdiction over NICA.

        1. As a threshold matter, the Supreme Court, the Fifth Circuit, and this Court have all applied

the Medicare Act’s channeling provisions to disputes over Medicare reimbursement. See, e.g., Ill.
            Case 1:23-cv-00707-DAE Document 49 Filed 10/13/23 Page 7 of 16




Council, 529 U.S. at 10; Sw. Pharmacy Sols., Inc. v. CMS, 718 F.3d 436, 440 (5th Cir. 2013); Am. Med.

Hospice Care, LLC v. Azar, No. 5:20-cv-757-DAE, 2020 WL 9814144, at *3–4 (W.D. Tex. Dec. 9,

2020) (Ezra, J.). So to the extent that Plaintiffs suggest that these principles apply “only with respect

to appeals from an ‘initial determination [of social security benefits] under subsection (a)(1)’” of the

Social Security Act, Opp’n at 17 (quoting 42 U.S.C. § 1395ff(b)(1))—rather than “to reimbursement

decisions under Medicare” more generally, id.—that theory is foreclosed by precedent. 1

        Plaintiffs likewise imply that it matters that their “claims are constitutional challenges” and that

(in their view) NICA’s “standing is grounded in constitutional harm from the operation of the IRA.”

Opp’n at 18–19 (emphases altered). But “[t]he Supreme Court has also explicitly rejected the argument

that constitutional challenges are free from Section 405(h)’s requirements.” Physician Hosps. of Am. v.

Sebelius, 691 F.3d 649, 656 (5th Cir. 2012) (citing Weinberger v. Salfi, 422 U.S. 749, 762 (1975); Heckler v.

Ringer, 466 U.S. 602, 615–16 (1984)). As this Court has explained, the question of whether NICA will

be “deprived of a fundamental liberty or property interest” or suffer other constitutional harm relating

to Medicare reimbursements “is undoubtedly an issue arising under the Medicare Act” for channeling

purposes. Am. Med. Hospice Care, 2020 WL 9814144, at *4. And these “provider[s’] participation in

the Medicare Program in turn provides the sole basis for [NICA’s] standing to bring its procedural

due process [and other constitutional] claim[s]—without its claim for benefits, [a NICA member]

would not be in a position to assert that it is entitled to any sort of . . . hearing” or other constitutional

relief. Id. So the fact that NICA brings constitutional claims does not solve its channeling problem.

        2. Attempting to overcome this precedent, Plaintiffs (at 17–18) question the applicability of

section 1395ff on the ground that they are not challenging an agency determination. That argument

proves the government’s point. Section 1395ff is the only relevant avenue for judicial review of

Medicare reimbursement claims. See 42 U.S.C. § 1395ii (stripping general federal-question jurisdiction,


        1
          Plaintiffs similarly quote statutory language about “the Commissioner of Social Security,”
Opp’n at 17, seemingly implying a mismatch with this suit against HHS. But the statute provides that
“any reference therein to the Commissioner of Social Security or the Social Security Administration
shall be considered a reference to the Secretary or the Department of Health and Human Services.”
42 U.S.C. § 1395ii; see also, e.g., Fam. Rehab., Inc. v. Azar, 886 F.3d 496, 500 n.4 (5th Cir. 2018).


                                                      2
             Case 1:23-cv-00707-DAE Document 49 Filed 10/13/23 Page 8 of 16




via incorporation by reference to 42 U.S.C. § 405). Plaintiffs are correct that section 1395ff provides

for judicial review “only with respect to appeals from an ‘initial determination [of benefits]’” by the

agency, Opp’n at 17 (quoting 42 U.S.C. § 1395ff(b)(1)) (emphasis by Plaintiffs), with which a provider

is “dissatisfied,” 42 U.S.C. § 1395ff(b)(1)(A). They are also correct that there has not yet been any

“initial determination” of their Medicare reimbursement by the agency here, see Opp’n at 17—after

all, the price changes that NICA is concerned about will not take affect for many years. That is

precisely why this Court lacks subject-matter jurisdiction over NICA and its members. If the absence

of an agency decision were enough to avoid channeling, there would be no channeling doctrine at all. 2

         3. Plaintiffs also argue that the Negotiation Program “was not established under subchapter

XVIII, but rather in subchapter XI” of Title 42, so it is not covered by section 1395ii’s reference to

“this subchapter.” Opp’n at 18. But that premise is incorrect (or at least materially incomplete). To

be sure, some provisions of the Negotiation Program appear in subchapter XI, but others—including

many that are core to Plaintiffs’ claims—appear in subchapter XVIII. Through this lawsuit, NICA is

seeking to ensure that Medicare pays its members using the formula in the pre-IRA version of 42

U.S.C. § 1395w-3a(b)(1)(B), instead of the (allegedly unconstitutional) post-IRA version, as amended

by IRA section 11001(b)(1). See Compl. ¶ 21 (describing these statutory changes, though tellingly

without any citation). That provision is in subchapter XVIII, and thus covered by section 1395ii—

even on NICA’s interpretation (as well as the District of Maryland’s, in the only case that Plaintiffs

cite, at 18). 3


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           Plaintiffs cite nothing to the contrary, other than (at 17–18) a partial and unexplained
quotation from one footnote in D&G Holdings, LLC v. Becerra, 22 F.4th 470 (5th Cir. 2022). That case
is inapposite—among other reasons, the key question there was whether the agency’s “effectuation[]”
of a prior administrative decision was sufficiently connected “with the initial exhausted agency action”
to consider channeling requirements satisfied. Id. at 476–77. In other words, the plaintiff in that case
had gone through the administrative process and obtained an “initial, properly exhausted,
administrative decision” before suing in federal court. Id. at 472. NICA has not. That distinction is
dispositive.
        3
          Plaintiffs now also purport to recast their claims (in part) as a challenge to IRA section
11001(b)(1)’s amendment to 42 U.S.C. § 1395w-102, which limits Part D plan payments to pharmacies.
See Opp’n at 1–3, 14. That provision is also found in subchapter XVIII, as is the provision governing
Part D administrative claims, 42 U.S.C. § 1395w-104(g), (h); see Sw. Pharmacy Sols., 718 F.3d at 444–45.


                                                   3
          Case 1:23-cv-00707-DAE Document 49 Filed 10/13/23 Page 9 of 16




        In any event, Plaintiffs’ argument is beside the point. As the Fifth Circuit (and this Court)

have recognized, claims necessarily “arise under the Medicare Act when they are ‘inextricably

intertwined’ with the underlying substantive claim for benefits” that does arise under the Medicare Act.

Am. Med. Hospice Care, 2020 WL 9814144, at *4; accord Affiliated Prof’l Home Health Care Agency v. Shalala,

164 F.3d 282, 286 (5th Cir. 1999). That standard is satisfied here. See, e.g., Compl. ¶¶ 4, 15, 20–21,

39, 66, 68, 106, 117, 144 (referencing providers’ Part B reimbursements, which are governed by an

IRA provision amending subchapter XVIII, 42 U.S.C. § 1395w-3a(b)(1)(B)). Plaintiffs’ opposition

brief dispels any doubt—it is peppered with material citations to subchapter XVIII. See Opp’n at 4,

14, 15 (citing 42 U.S.C §§ 1395w-3a, 1395w-102).

        NICA protests that the government “cites no case like this one—a facial constitutional

challenge to a statute in a different subchapter—where Section 405 channeling was found to apply.”

Opp’n at 17. Not so. The D.C. Circuit held in Community Oncology Alliance, Inc. v. OMB, 987 F.3d 1137

(D.C. Cir. 2021) (cited in Defs.’ Mot. to Dismiss at 13, ECF No. 39 (“MTD”)), that there was no

jurisdiction over a constitutional challenge to an order issued under an entirely different statute. There,

as here, the plaintiff argued that statutory provisions outside of subchapter XVIII—in that case, the

Balanced Budget Act, 2 U.S.C. §§ 901 et seq.—unconstitutionally reduced Medicare Part B drug

reimbursements under 42 U.S.C. § 1395w-3a. The D.C. Circuit held that the claims were channeled,

as dictated by Supreme Court precedent: “To contend that such an action does not arise under the

Act whose benefits are sought is to ignore both the language and the substance of the complaint.”

Cmty. Oncology, 987 F.3d at 1143 (quoting Salfi, 422 U.S. at 761). In other words, “even if [the plaintiff’s]

claims could be described as arising under the Constitution or the Balanced Budget Act, all that matters

under section 405(h) is that the claims also arise under the Medicare Act.” Id. (emphasis added). So

too here. Compare Opp’n at 4, 14, 15 (citing 42 U.S.C § 1395w-3a, in subchapter XVIII), with id. at 19

n.3 (purporting to distinguish Community Oncology, yet also citing 42 U.S.C § 1395w-3a).

        In Association of Community Cancer Centers v. Azar, 509 F. Supp. 3d 482 (D. Md. 2020), on which

Plaintiffs rely, a district court in Maryland also found it significant that the plaintiff “did ‘not make any

specific or individual claims for reimbursement under subchapter XVIII.’” Opp’n at 18 (quoting 509


                                                     4
         Case 1:23-cv-00707-DAE Document 49 Filed 10/13/23 Page 10 of 16




F. Supp. 3d at 491). The Fifth Circuit, however, has taken a different approach: that NICA’s members

“do[] not directly seek Medicare benefits does not bar application of § 405.” Johnson v. HHS, 142 F.

App’x 803, 804 (5th Cir. 2005) (emphasis added) (citing Ill. Council, 529 U.S. at 15). For purposes of

Medicare Act channeling, “[t]he term ‘arising under’ is broadly construed to encompass all claims for

relief, regardless of whether the claimant seeks benefits, or declaratory or injunctive relief.” True Health

Diagnostics, LLC v. Azar, 392 F. Supp. 3d 656, 662 (E.D. Tex. 2019); see Ill. Council, 529 U.S. at 13–14.

So the absence of a direct request for benefits in the prayer for relief is irrelevant.

        4. Finally, Plaintiffs argue that “channeling does not apply” because of 42 U.S.C. § 1320f-7,

Opp’n at 19, which precludes review of some IRA implementation decisions. Yet again, the Supreme

Court has held otherwise: “[t]he fact that the agency might not provide a hearing for that particular

contention,” or even “may lack the power to provide one, . . . is beside the point” for purposes of

Medicare Act channeling. Ill. Council, 529 U.S. at 23. To that end, both the Medicare Act and CMS

regulations offer expedited review of constitutional claims. See 42 U.S.C. § 1395ff(b)(1)(F)(2); 42

C.F.R. § 405.990(c)(2). As Defendants have acknowledged, if these claims are “rejected during the

administrative process,” NICA or its members “could then sue in federal court, where [their]

constitutional arguments for greater reimbursement would be adjudicated.” MTD at 15. But the

requirement to first present that argument to the agency is unaffected by section 1320f-7.

        B.      NICA has not identified any member with Article III standing.

        As for Article III standing, in response to Defendants’ facial attack on the sufficiency of the

complaint, Plaintiffs point to a range of alleged injuries—few of which are actually alleged in the

complaint and none of which would be sufficient to establish standing in any event.

        1. As an initial matter, Plaintiffs do not dispute that their complaint fails to allege any injury

to identified NICA members. Opp’n at 16. They instead contend that this argument is “moot”

because they have now named a member in their brief, and they assert that they need not do so at the

pleading stage. But the Fifth Circuit has been unequivocal that “[a]n organization lacks standing if it

fails to adequately ‘allege that there is a threat of injury to any individual member of the association’

and thus ‘fails to identify even one individual’ member with standing.” Funeral Consumers All., Inc. v.


                                                     5
            Case 1:23-cv-00707-DAE Document 49 Filed 10/13/23 Page 11 of 16




Serv. Corp. Int’l, 695 F.3d 330, 344 (5th Cir. 2012) (brackets and quotation marks omitted). 4 The

required allegations as to individual members are not properly raised in opposition to the motion to

dismiss. See, e.g., Jaraba v. Blinken, 568 F. Supp. 3d 720, 727 (W.D. Tex. 2021); see also, e.g., Paterson v.

Weinberger, 644 F.2d 521, 523 (5th Cir. 1981). Plaintiffs’ standing arguments fail for this reason alone.

        2. Even crediting their new assertions outside of the complaint, Plaintiffs still have not

established any actual or imminent injury to any of NICA’s members—identified or otherwise.

        As to Plaintiffs’ feared economic injuries, the complaint includes allegations only about NICA

members’ operation of “outpatient facilities [that] administer [infusion drug] treatments,” which are

services covered under Medicare Part B. Compl. ¶ 21. And those generic allegations—that NICA

“expects” its unidentified members’ reimbursements under Part B to decrease, eventually leading to

lower overall revenues, id.—are far too vague and speculative to support Article III standing. In their

attempt to solve this problem, NICA has now identified a member, BioTek, and named an infusion

drug, Stelara, which was selected for negotiation for initial price applicability year 2026 with respect to

its coverage under Part D, see 42 U.S.C. § 1320f-1(a), (d)(1). This attempt falls short—even ignoring

the threshold problem that the complaint remains facially insufficient.

        Plaintiffs assert that BioTek’s Part B reimbursements have “historically” been “based on the

average sales price (ASP) . . . plus 6%.” Supp. Nyquist Decl. ¶ 8, ECF No. 47-2. And they argue that

future reimbursement for selected drugs under Part B—negotiated prices plus 6%, 42 U.S.C. § 1395w-

3a(b)(1)(B)—will decrease when negotiated prices take effect in 2028 or later. Opp’n at 15. But

Plaintiffs ignore that some providers are likely to save money on their drug-acquisition costs for any


        4
           Plaintiffs cite two non-precedential cases suggesting that organizations representing large
groups of individual voters need not always name names to “adequately allege[] that some of its
members” faced Article III injury. Hancock Cnty. Bd. of Sup’rs v. Ruhr, 487 F. App’x 189, 198 (5th Cir.
2012); see Am. C.R. Union v. Martinez-Rivera, 166 F. Supp. 3d 779, 804 (W.D. Tex. 2015); Opp’n at 16–
17. Neither of those cases cite the relevant Fifth Circuit precedent, and Hancock was issued just two
weeks before Funeral Consumers Alliance reaffirmed (at the pleading stage) the relevant requirements
under Summers—in which the Supreme Court “rejected the contention that standing can be established
by ‘accepting the organization’s self-description of the activities of its members,’” 695 F.3d at 344
(quoting 555 U.S. at 497), and also explicitly discussed the “requirement of naming the affected
members,” 555 U.S at 499 (emphasis added).


                                                     6
             Case 1:23-cv-00707-DAE Document 49 Filed 10/13/23 Page 12 of 16




selected drug under Part B, because they will (for the first time) be guaranteed an opportunity to

purchase them at negotiated prices. See 42 U.S.C. § 1320f-2(a)(3). So even if reimbursements fall,

providers’ profits on sales of these drugs may increase—in particular, for providers who currently

acquire drugs at above-average prices (as, presumably, roughly half of them do). See MTD at 11.

Plaintiffs still make no allegations regarding BioTek’s acquisition costs of any drug. So any theory of

financial harm to BioTek still relies on speculation and several variables that are unaccounted for in

Plaintiffs’ filings. 5

         Nonetheless, Plaintiffs speculate that NICA members’ reimbursements under Medicare Part

B will eventually decrease for the administration of infusion drugs such as Stelara. Opp’n at 13–14. But

Plaintiffs concede that even if Stelara remains a selected drug, no negotiated prices will take effect

with respect to Part B until 2028. See id.; 42 U.S.C. § 1320f–1(a), (d)(1). They maintain that this time

lag is insignificant because an infusion drug covered under Part B “will” eventually be selected for

negotiation. Opp’n at 12. But that hypothetical drug’s future selection is not an injury in itself—rather,

any injury to NICA members would result from a (currently hypothetical) revenue decrease, a

possibility that is affected by several uncertain variables that Plaintiffs ignore, as discussed above. And

the massive lag time only heightens the speculative nature of Plaintiffs’ theory of economic injury. Cf.

Attala Cnty., Miss. Branch of NAACP v. Evans, 37 F.4th 1038, 1043 (5th Cir. 2022) (a plaintiff must

show a “real and immediate threat,” and “immediacy does imply a short timeframe”).

         To that end, Plaintiffs do not dispute that in the years before any negotiated price goes into

effect for a drug under Part B, many factors could change current predictions about which drugs may


         5
           Plaintiffs also assert that the negotiated price for Stelara under Part D may affect its average
sales prices (ASPs) and therefore reimbursements under Part B, even before 2028. Opp’n at 14–15. But
even ignoring drug-acquisition costs (discussed above), as well as industry predictions that Stelara is
deselected in the coming years, see infra at 8, Plaintiffs misunderstand how ASPs are calculated, which
is critical to this (untimely) theory. An ASP is based on the net price of a drug after rebates and
discounts. 42 U.S.C. § 1395w-3(c)(3). So for a negotiated price of a selected drug under Part D to
have any effect on the ASP for that drug, the drug manufacturer would need to both agree to a price
that is lower than the current net price of the drug (after discounts) and avoid offsetting price changes
in the private market that also factor into the ASP calculation. None of these events, which depend
on independent decision-making by third parties, is “certainly impending.” Clapper, 568 U.S. at 409.


                                                    7
        Case 1:23-cv-00707-DAE Document 49 Filed 10/13/23 Page 13 of 16




be selected. MTD at 10. For example, a generic or biosimilar competitor could enter the market,

which would remove a drug from the list of those eligible for price negotiation under mandatory

statutory criteria. See 42 U.S.C. § 1320f-1(c). Stelara proves this point: according to public reporting

(and statements by the manufacturers themselves), the launch of a biosimilar competitor to Stelara is

expected no later than early 2025. See, e.g., Adam Zamecnik, J&J signs Stelara biosimilar settlement deal,

Pharm. Tech. (Aug. 8, 2023), https://perma.cc/L64H-9U77. If those predictions are realized, Stelara

will be deselected, and negotiated prices will never take effect for the administration of Stelara under

Part B. See 42 U.S.C. § 1320f-1(c). Plaintiffs thus face no “certainly impending” future harm from the

selection of Stelara selection for negotiation. Clapper, 568 U.S. at 401.

        Attempting to overcome these problems, Plaintiffs now state for the first time that NICA’s

members are not only medical providers that administer medications under Part B, but they also

operate in-house pharmacies that sell medications covered under Part D. See Opp’n at 3; Zweben

Decl. ¶ 2, ECF No. 47-1. Nowhere in the complaint do Plaintiffs so much as hint at this aspect of

NICA members’ business, much less include relevant allegations about how they believe individual

members will be harmed. Contra Opp’n at 13 (cherry-picking the words “and Part D” from paragraph

21 of the complaint, which states merely that “the Program [will] appl[y] to provider-administered

drugs under Medicare Part B and Part D”). In any event, this new theory would also fail, for similar

reasons. Plaintiffs continue to ignore that many pharmacies may well ultimately save money relative

to their current drug-acquisition costs. 42 U.S.C. § 1320f-2(a)(3)(A). And CMS has not yet even

determined the Part D reimbursement policy for pharmacies. See Revised Guidance at 41–42. Any

particular pharmacy may break even or be better off after the challenged statutory changes take effect.

        Finally, Plaintiffs suggest counterintuitively that they could have standing—even based on a

theory of financial harm—if they were to profit from this program, insisting that “standing analysis is

not an accounting exercise.” Opp’n at 16 (quoting Texas v. United States, 809 F.3d 134, 155 (5th Cir.

2015)). But as Texas confirms, when analyzing injury in fact, courts must (at the very least) consider

“offsetting benefits that are of the same type and arise from the same transaction as the costs.” 809

F.3d at 155. Those are the exact sorts of benefits that Plaintiffs continue to ignore.


                                                    8
            Case 1:23-cv-00707-DAE Document 49 Filed 10/13/23 Page 14 of 16




        In sum, although it may be difficult to forecast precisely all of the winners and losers from the

statute at this early stage, Plaintiffs alone bear the burden of identifying a NICA member that faces an

actual or imminent injury—and that injury “must be ‘certainly impending’; mere ‘[a]llegations of

possible future injury’ do not suffice.” Attala Cnty., 37 F.4th at 1042 (quoting Clapper, 568 U.S. at 409);

see Summers v. Earth Island Inst., 555 U.S. 488, 497 (2009). Plaintiffs have not met that burden here.

        3. Finally, Plaintiffs argue that NICA’s members face “procedural injuries” due to the mere

existence of “an unconstitutional decision-making scheme” that applies to (non-party) drug

manufacturers. Opp’n at 6. This argument ignores that “the ‘deprivation of a procedural right without

some concrete interest that is affected by the deprivation—a procedural right in vacuo—is insufficient

to create Article III standing.’” Dep’t of Educ. v. Brown, 600 U.S. 551, 562 (2023) (quoting Summers, 555

U.S. at 496). So the bottom-line question for standing remains unchanged: that is, whether NICA

faces any injury in the form of a “deprivation” of some “concrete interest”—including whether NICA

can “satisfy the well-established requirement that threatened injury must be certainly impending.”

Clapper, 568 U.S. at 401. For the reasons above, NICA cannot—and merely restating that Plaintiffs

consider the IRA’s procedures to be unconstitutional does not solve their problem. Otherwise, there

would be standing in every constitutional challenge to government procedures.

        Plaintiffs fall back on “the ‘special’ nature of procedural injuries.” Opp’n at 7. But again,

“[r]egardless of the redressability showing [the Supreme Court] ha[s] tolerated in the procedural-rights

context, [it] ha[s] never held a litigant who asserts such a right is excused from demonstrating that it

has a ‘concrete interest that is affected by the deprivation’ of the claimed right.” Brown, 600 U.S. at

562 (quoting Summers, 555 U.S. at 496) (emphasis added). Redressability is irrelevant here, as NICA

has not alleged any “actual or imminent” Article III injury in the first place. Clapper, 568 U.S. at 409. 6

        Plaintiffs’ arguments about the nondelegation doctrine and the Excessive Fines Clause (at 10–

11) are even further afield. “Federal courts do not exercise general legal oversight of the Legislative

        6
         Similarly, Plaintiffs’ procedural-injury “argument is at odds with the rule that ‘[p]rocess is not
an end in itself.’” Town of Castle Rock v. Gonzales, 545 U.S. 748, 771 (2005) (Souter, J., concurring)
(quoting Olim v. Wakinekona, 461 U.S. 238, 250 (1983)). Instead, “[i]ts constitutional purpose is to
protect a substantive interest to which the individual has a legitimate claim of entitlement.” Id.


                                                    9
            Case 1:23-cv-00707-DAE Document 49 Filed 10/13/23 Page 15 of 16




and Executive Branches,” TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2203 (2021), so whether

Plaintiffs believe that the government is violating the law makes no difference to the standing analysis.

And even if Congress had violated the Constitution in this way, it could only have violated the rights

of drug manufacturers—who (unlike NICA’s members) would be the ones subject to the allegedly

unconstitutional process or the allegedly excessive fines—as Plaintiffs appear to recognize (at 11 n.1).

        Plaintiffs nonetheless insist that they “can rely on governmental action aimed at third parties

if those ‘third parties . . . react in predictable ways.’” Id. (quoting Dep’t of Com. v. New York, 139 S. Ct.

2551, 2566 (2019)). But they misread the quoted passage from Department of Commerce, which is about

causation, not injury-in-fact; those plaintiffs “assert[ed] a number of injuries” to themselves—not to

third parties. 139 S. Ct. at 2565. Although “predictable” actions of third parties did not break the

chain of causation in that case, “a party cannot ordinarily rest his claim to relief on the legal rights or

interests of third parties.” June Med. Servs. LLC v. Russo, 140 S. Ct. 2103, 2117 (2020). There is no

basis for an exception to that rule here, and NICA makes no argument to the contrary. 7

II.     Upon NICA’s dismissal, this case should be dismissed for lack of venue.

        As Defendants have explained, “[o]nce NICA is dismissed from this action, the rest follows

as a matter of course.” MTD at 16. Plaintiffs do not dispute that their “only theory of venue depends

entirely on NICA’s residence,” nor that “a plaintiff who lacks standing (or is otherwise beyond the

subject-matter jurisdiction of the court) cannot create venue where it would not otherwise exist.” Id.

at 17. Plaintiffs likewise do not dispute that, if venue is improper, “the interest[s] of justice” favor

dismissal, rather than transfer, under these circumstances. 28 U.S.C. § 1406(a). Accordingly, because

the Court lacks subject-matter jurisdiction over NICA, this case should be dismissed for lack of venue.

                                            CONCLUSION
        For these reasons, the Court should dismiss Plaintiff NICA for lack of subject-matter

jurisdiction under Rule 12(b)(1), and then dismiss this case for lack of venue under Rule 12(b)(3).

        7
          Separately, Plaintiffs also cite (at 10–11) Axon Enterprises, Inc. v. FTC, but the rule announced
in that case applies only to certain “extraordinary claims” that are “fundamental, even existential” to
the structure of a federal agency. 598 U.S. 175, 180 (2023). None of Plaintiffs’ claims “challenges . . .
the structure or very existence of an agency.” Id. at 189.


                                                     10
       Case 1:23-cv-00707-DAE Document 49 Filed 10/13/23 Page 16 of 16



Date: October 13, 2023                Respectfully submitted,

                                      BRIAN M. BOYNTON
                                      Principal Deputy Assistant Attorney General

                                      JAIME ESPARZA
                                      United States Attorney

                                      MICHELLE R. BENNETT
                                      Assistant Branch Director

                                      /s/ Stephen M. Pezzi
                                      STEPHEN M. PEZZI
                                       Senior Trial Counsel
                                      CHRISTINE L. COOGLE
                                      ALEXANDER V. SVERDLOV
                                       Trial Attorneys
                                      United States Department of Justice
                                      Civil Division, Federal Programs Branch
                                      1100 L Street NW
                                      Washington, D.C. 20005
                                      (202) 305-8576
                                      stephen.pezzi@usdoj.gov
                                      Counsel for Defendants




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